 Case: 2:19-cv-02293-JLG-KAJ Doc #: 25 Filed: 09/13/19 Page: 1 of 1 PAGEID #: 473




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

 SYMBOLOGY INNOVATIONS, LLC,

                     Plaintiff,
                                                          Case No. 2:19-cv-02293
        v.
                                                          Judge James L. Graham
 TELESIS TECHNOLOGIES, INC.,

                     Defendant.


                                            ORDER

       Based on the stipulation of the parties, and good cause appearing therefore,

IT IS HEREBY ORDERED THAT:

       Pursuant to Federal Rule of Civil Procedure 41(a)(2), Plaintiff’s claims against Defendant

are dismissed WITH PREJUDICE and Defendant’s counterclaims against Plaintiff are dismissed

WITHOUT PREJUDICE, wholly dismissing the instant action, Symbology Innovations LLC v.

Telesis Technologies, Inc., Case No. 2:19-cv-02293, with each party to bear its own attorneys’

fees and costs.

       It is SO ORDERED.



       September 13, 2019
Dated: ____________________

                                                    s/ James L. Graham
                                                    ___________________________________
                                                    Judge James L. Graham
                                                    United Stated District Court




ORDER OF DISMISSAL
2:19-cv-02293
